Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Dailey Law Firm PC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  63 Kercheval Ave. Ste 215
                                  Grosse Pointe, MI 48236
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.daileylawyers.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Dailey Law Firm PC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Dailey Law Firm PC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   Dailey Law Firm PC                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Dailey Law Firm PC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 6, 2023
                                                  MM / DD / YYYY


                             X /s/ Brian Dailey                                                           Brian Dailey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Scott M. Kwiatkowski                                                    Date July 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Scott M. Kwiatkowski P-67871 scot@bk-lawyer.net
                                 Printed name

                                 Goldstein Bershad & Fried PC
                                 Firm name

                                 4000 Town Center
                                 Suite 1200
                                 Southfield, MI 48075
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     248-355-5300                  Email address


                                 P-67871 MI
                                 Bar number and State




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                                                      United States Bankruptcy Court
                                                             Eastern District of Michigan
 In re    Dailey Law Firm PC                                                                                      Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Brian Dailey
63 Kercheval Ave Ste 215
Auburn Hills, MI 48326


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 6, 2023                                                        Signature /s/ Brian Dailey
                                                                                        Brian Dailey

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                       AT&T
                       One AT&T Way, Room 3A 104
                       Bedminster, NJ 07921


                       Azzo Law, PLLC
                       Lauren M. Azzo, Esq.
                       500 S. Old Woodward, 2nd Floor
                       Birmingham, MI 48009


                       Blue Cross Blue Shield of Michigan
                       232 S. Capitol Ave. - MCA L08A
                       Lansing, MI 48933-1504


                       Blue Cross Blue Shield of MIchigan
                       600 E. Lafayette Blvd.
                       Detroit, MI 48226


                       Brocon Recruiting
                       Attn: Adam Cohen
                       4611 Hedgewood Dr.
                       Bloomfield Hills, MI 48301


                       Copy Man
                       4620 Dixie Hwy, Ste. B
                       Waterford, MI 48329


                       Greenfield Super Market
                       c/o Dalen, Hanna, Hanna & Jarbo, PLLC
                       33717 Woodward Ave., Ste. 560
                       Birmingham, MI 48009


                       Grove & Associates
                       36700 Woodward Ave., Ste. 207
                       Bloomfield Hills, MI 48304


                       Hanson Renaissance Court Reporting
                       2111 Woodward Ave., Ste. 1105
                       Detroit, MI 48201


                       Honigman
                       2290 First National Building
                       660 Woodward Ave.
                       Detroit, MI 48226




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                   ILH, LLC
                   c/o David, Wierenga & Lauka
                   99 Monroe Avenue, NW
                   Ste. 1210
                   Grand Rapids, MI 49503


                   Internal Revenue Service
                   Centralized Insolvency Operations
                   PO Box 7346
                   Philadelphia, PA 19101-7346


                   Jakowiak Law Offices
                   111 W. Washington St., Suite 1500
                   Chicago, IL 60602


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                   c/o Robert S. Drazin, Esq.
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                   Southfield, MI 48075


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                   c/o Scott S. Yaldo, Esq.
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                   Chicago, IL 60602


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                   Mayer & Marsh
                   123 W. Madison, Ste. 700
                   Chicago, IL 60602


                   Michigan Department of Attorney General
                   Cadillac Place, 10th Floor
                   3030 W. Grand Blvd., Suite 10-200
                   Detroit, MI 48202


                   Michigan Department of Treasury
                   Collection/Bankruptcy Unit
                   P O Box 30168
                   Lansing, MI 48909


                   Michigan Pain Management
                   c/o Gary R. Blumberg, Esq.
                   22016 Ford Road
                   Dearborn Heights, MI 48127


                   Motor City Legal Funding
                   c/o Scott S. Yaldo, Esq.
                   500 S. Old Woodward, 2nd Floor
                   Birmingham, MI 48009


                   On Deck Capital, Inc.
                   4700 W. Daybreak Pkwy., Suite 200
                   South Jordan, UT 84009


                   Outfront Media LLC
                   c/o Rich & Associates
                   30665 Northwestter Hwy, #280
                   Farmington, MI 48334


                   Preferred Rehabilitation, Inc. and
                   Spine Sports & Occupational Medicine, PC
                   c/o Joey S. Niskar, Esq.
                   P.O. Box 252917
                   West Bloomfield, MI 48325


                   Shirley Teatro
                   c/o John F. Turke, Esq.
                   1327 Jone Drive, Ste. 105
                   Ann Arbor, MI 48105




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                   Sipes Law Firm, P.C.
                   151 North Delaware St., Ste. 1130
                   Indianapolis, IN 46204


                   Sullivan, Ward, Patton, Bleason & Felty
                   400 Galleria Officentre, Ste. 500
                   Southfield, MI 48034


                   Surgical Capital Management
                   c/o John Betz, Esq.
                   175 2nd Street
                   Belleville, MI 48111


                   Thomson Reuters Westlaw
                   610 Opperman Drive
                   Saint Paul, MN 55123


                   Thomson Reuters Westlaw
                   535 Griswald Street, Suite 2340
                   Buhl Building
                   Detroit, MI 48226


                   U.S. Attorney
                   Attn: Civil Division
                   Small Business Administration
                   211 W. Fort Street, Ste. 2001
                   Detroit, MI 48226


                   U.S. Small Business Administration
                   Attn: District Counsel
                   1819 Patrick V. McNamara Building
                   477 Michigan Avenue
                   Detroit, MI 48226-2573


                   United States Attorney General
                   U.S. Department of Justice
                   950 Pennsylvania Avenue, N.W.
                   Washington, DC 20350


                   US Attorney (IRS)
                   Attn: Civil Division
                   211 W. Fort Street, #2001
                   Detroit, MI 48226




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                   d/b/a Detroit Medical Center
                   c/o Andrew Horne, Esq.
                   28470 W. 13 Mile Rd., Ste. 300
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                   William Ingram
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                   23855 Northwestern Hwy.
                   Southfield, MI 48075




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